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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                      Case No. 19-cv-81448-SINGHAL/Matthewman

  JENNIFER TUNG, individually and on behalf
  of all others similarly situated,

         Plaintiff,

  v.

  DYCOM INDUSTRIES, INC., STEVEN E.
  NIELSEN, and ANDREW DEFERRARI

       Defendant.
  _______________________________________/

                          ORDER DENYING MOTION TO DISMISS

         This is a class action against Dycom Industries, Inc. (“Dycom”), its chief executive

  officer Steven Nielsen (“CEO”), and its chief financial officer Andrew DeFarrari (“CFO”)

  (collectively, “Defendants”), for securities fraud under Sections 10(b) and 20(a) of the

  Exchange Act of 1934 and Rule 10b-5. The class members all purchased or otherwise

  acquired Dycom common stock between November 20, 2017 and August 10, 2018

  (“Class Period”). Jennifer Tung, one such purchaser, first filed this action on October 25,

  2018. See generally Compl. ¶ 5 (DE [1]). No more than a few days later, a second

  putative class filed an identical complaint against Defendants. See generally Possick v.

  Dycom Indus., Inc., No. 18-cv-81480-RLR (S.D. Fla. Oct. 30, 2018). The two actions

  were consolidated and Boston Retirement System was appointed lead plaintiff. See

  Order Appointing Lead Plaintiff (DE [29]).

         As a general overview, Plaintiffs allege Dycom, through CEO and CFO, both

  intentionally misled the public and intentionally failed to fully inform the market about its
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  financial strength. Plaintiffs point specifically to approximately sixty statements (spanning

  almost 100 paragraphs in the complaints) Defendants made as intentionally misleading.

         The current operative pleading is the Second Amended Complaint (“SAC”)

  (DE [71]), with the cause before the Court, Dycom’s Motion to Dismiss (“Motion to

  Dismiss”) (DE [74]). The Court has reviewed the Motion to Dismiss, the Response in

  Opposition (DE [76]), the Reply in Support (DE [78]), as well as several affidavits,

  declarations, and exhibits attached to all the relevant pleadings and briefing (DE [74-1],

  [74-2], [74-3], [74-4], [75]). For the reasons further explained below, the Court finds

  Plaintiffs have pled facts sufficient to withstand a Rule 12(b)(6) motion to dismiss. In

  coming to this conclusion, the Court has thoroughly analyzed the panoply of statements

  on which Plaintiffs base their claims. While (unsurprisingly) each side takes divergent

  positions—Plaintiffs argue all sixty statements are actionable; Defendants insist none

  are—the answer is more nuanced; some are. However, given the sheer amount, it would

  be neither sound nor sensible for the Court to parse each and every statement at this

  juncture. Suffice it to say, at this stage of the proceeding, Plaintiffs have stated a cause

  of action for securities fraud. At a later time, it can be determined which statements are

  allowed to be tried before the factfinder. With that established, the Motion to Dismiss is

  DENIED. This order follows.

  I.     BACKGROUND

         A.     Dycom’s Business Model

         Dycom provides specialty contracting services to telecommunications providers—

  services like engineering, construction, maintenance, and installation. SAC ¶ 1 (DE [71]).

  Over 75% of its revenue comes from business with some of the most well-known




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  companies in the United States, including AT&T, CenturyLink, Charter Communications,

  Comcast, and Verizon. Id. ¶¶ 1, 52–54. Over the past few years with the increasing

  ubiquity of cellular data and smartphones, Dycom’s work with these telecommunications

  companies has seen unprecedent growth. Id. ¶ 2.

         Dycom and these partner companies enter into “master service agreements”

  (“MSAs”). Id. ¶ 52–56. One issue with these contracts is that they do not guarantee a

  specific amount of volume of work or services, and can be cancelled by the partner

  company at any time without penalty. Id. ¶ 57. Dycom refers to the estimated value for

  the work generated by entering into an MSA as its “backlog.” See Mot. to Dismiss 5–6

  (DE [74]). During the Class Period, Dycom states its backlog was worth approximately

  $6 billion. Id. at 6.

         As Plaintiffs recognize, because Dycom’s revenue is highly concentrated to only

  five partner companies, the loss of just one could have a serious impact on Dycom’s

  operations and revenue. SAC ¶ 58. And this cautious outlook proved prescient. Despite

  several multimillion-dollar contracts with these partner companies over the past few

  years, Dycom faced difficulty in maintaining MSAs, lost customers and money, and

  experienced substantial delays in deploying the projects. Id. ¶ 4. Forming the basis of

  this class action, Plaintiffs contend Dycom hid these workload and financial problems from

  the market. Id. According to Plaintiffs, because of difficulty in obtaining permits and

  issues completing contracted projects within the allotted time, Dycom suffered loss of

  MSAs, resulting in under-absorption of labor costs, and insufficient amount of work.

  Id. ¶¶ 70–71.     By way of example, Dycom was experiencing substantial delays in

  deploying Verizon’s One Fiber Project and AT&T’s FTTX Project due to its failure to




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  secure utility and work permits. Id. ¶ 4. Consequently, Verizon and AT&T, among several

  other customers, repudiated millions of dollars’ worth of contracts, costing Dycom lost

  revenue and business-relationship goodwill. Id. ¶¶ 4, 129–35, 159

         B.     False and Misleading Statements

         According to Plaintiffs, Dycom hid from the market and its investors, all of the

  foregoing issues with obtaining permits and maintaining its relationships with partner

  companies. SAC ¶ 4. Beginning on November 20, 2017—the opening bookmark date of

  the Class Period—CEO and CFO began what Plaintiffs describe as a coordinated

  campaign to make false statements, mislead the market and investors, and hide Dycom’s

  issues. E.g., id. ¶ 189. Specifically, again, Plaintiffs identify nearly sixty. As stated above,

  the Court finds it unnecessary and imprudent to repeat and analyze each and every

  statement identified by Plaintiffs.

         On November 20, 2017, Dycom held an earnings call to discuss its financial and

  operating results for the fiscal quarter ending in October 2017 (“November 2017 Call”).

  Id. ¶ 192. It was during this call that CEO and CFO, according to Plaintiffs, made the first

  of many false or misleading statements about Dycom’s financial situation. Id. They point

  to the following statement made by CEO as the first:

         As with prior initiations of large-scale network deployments, we expect
         some normal timing volatility and customer spending modulations as
         network deployment strategies evolve and tactical considerations,
         primarily permitting impact timing.

  Id. (emphasis in original). A few months later, during an investor call on February 28,

  2018 (“February 2018 Call”), CEO repeated this outlook of “expect[ing] some normal

  timing volatility.” Id. ¶ 194. Doubling down on this theme, on the November 2017 Call,

  CEO addressed the permitting issues accordingly:



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         [W]hen you show up at a number of cities and you come with large
         programs, it always takes the permitting authorities a little bit of time to gear
         up and we’re working aggressively with our customers to help them gear
         up. It is not anything unusual . . . . So I think it’ll get better, it always does.

  Id. ¶ 196. Plaintiffs further allege CEO and CFO misled the public in Dycom’s Form 10-

  Q for the period ending in October 2017 by representing Dycom was “not experiencing

  any material project delays or other circumstances that would impact the realizability of

  the [costs and estimated earnings in excess of billings] balance as of October 28, 2017

  or July 29, 2017.” Id. ¶ 197.

         According to Plaintiffs, the November 2017 Call and February 2018 Call

  demonstrate the materially false and misleading statements because the permit delays

  were not “normal,” but rather the result of issues specific to Dycom. Id. ¶ 200. Basically,

  Defendants failed to disclose that Dycom was already experiencing substantial and

  material nationwide permit delays as a direct result of its failure to: file necessary permits

  in advance of commencing customer projects; provide municipalities with information that

  was specifically requested in order for the permits to be completed, processed and

  approved; obtain the requisite workers compensation insurance for its subcontractors in

  order to satisfy rudimentary permit requirements; and hire sufficient and competent staff

  to file and obtain project permits. Id.

         Plaintiffs allege Defendants also made false and misleading statements about the

  progress made on its projects and demand by its partner companies. Id. ¶ 205. During

  the November 2017 Call, CEO stated Dycom was experiencing “an increase in demand

  from three key customers as we deployed 1 gigabit wireline networks.”                 Id. ¶ 206.

  However, according to Plaintiffs, this was materially false and misleading because the 1

  gigabit deployment actually were not being actively deployed, and Dycom would not begin



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  new projects because it failed to obtain the required permits to commence and complete

  such jobs. Id. ¶ 212. This was just one of many such related statements. See id. ¶¶

  213–25.

         Defendants also made statements and omissions regarding how quickly its

  projects were being accelerated. Id. ¶ 226. For instance, during the February 2018 Call,

  CEO stated: “We expect accelerating fiber deployments for emerging wireless

  technologies, increasing wireless services and solid demand from several large

  customers reflecting 1 gigabit deployments and fiber-deep cable capacity projects.”

  Id. ¶ 234. Then there are the statements regarding its ability to complete its backlog of

  projects. Id. ¶¶ 241–52. There are also statements concerning its “strong” relationships

  with the partner companies. Id. ¶¶ 253–63. Finally, Plaintiffs allege Defendants made

  statements regarding its operations, revenue growth, and profit margins. Id. ¶¶ 264–86.

  In total, Plaintiffs have identified and alleged over 100 paragraphs’ worth of

  representations and omissions by Defendants that, according to Plaintiffs, were

  intentionally false and calculated to mislead the market.

         C.     Two Partial Disclosures Showing Financial Distress

         On May 22, 2018, Dycom reported its 2019 first quarter financials. SAC ¶ 287. In

  this press release, Dycom acknowledged the project delays and, due to these delays,

  revised its guidance downward.      Id.   In an investor call later that day, Defendants

  attributed the negative outlook to a “substantial buildup in activities from the permitting

  authorities.” Id. ¶ 289. In complete and obvious contrast to their previous positive

  statements, Defendants’ reason for its revised downward guidance was that it “did not

  have enough work in hand to absorb the costs it had already incurred on large projects.”




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  Id. ¶ 289. That same day, Dycom held an earnings call. Id. ¶ 288. Offering the now-grim

  outlook, CEO stated: “We just got to get enough work in hand so that we can both absorb

  the fixed cost around warehousing and supervision and general management, as well as

  be efficient in the field as we get more permitted backlog that we can really go to work on.

  And it's getting better every day.” Id. ¶ 289. Dycom’s stock dropped 20.27% in one day.

  Id. ¶ 292.

         On August 13, 2018, before market open, Dycom issued a press release and

  another earnings call and, again, revised its guidance downward. Id. ¶¶ 311–12. This

  time, CEO stated bluntly: “[W]e’re not as busy as we had expected to be. And so that

  created an absorption question.” Id. ¶ 313. Dycom’s stock freefell again, dropping about

  24.10%. Id. ¶ 317.

         D.     The Second Amended Complaint and Confidential Witnesses

         Plaintiffs filed a first amended complaint (DE [43]) on April 19, 2019. While

  Defendants’ motion to dismiss (DE [55]) was pending, Plaintiffs then filed a motion titled

  “Motion to File Corrected Complaint” (DE [65]). The motion sought to “correct” the

  complaint by way of “minor clarifications and errors” that Plaintiff’s counsel had “since

  become aware of” since filing the complaint. Id. These proposed corrections were seven

  specific assertions attributed to confidential witnesses (“CWs”). Id. The district judge to

  whom this case was previously assigned permitted Plaintiffs to file the proposed

  “corrected” complaint as a second amended complaint and allowed Defendants to move

  to dismiss the new pleading. See Order (DE [68]).

         Plaintiffs bring two causes of action against Defendants: securities fraud under

  Section 10(b) of the Exchange Act and Rule 10b-5; and derivative personal liability




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  against CEO and CFO under Section 20(a) of the Exchange Act. Defendants move to

  dismiss both counts.

  II.    APPLICABLE LAW

         A.     Securities-Fraud Claim Under Section 10(b) of the Exchange Act

         A plaintiff must plead six elements to state a claim for securities fraud under

  Section 10(b) of the Exchange Act and Rule 10b-5: “(1) a material misrepresentation or

  omission; (2) scienter; (3) a connection with the purchase or sale of a security; (4) reliance

  on the misstatement or omission; (5) economic loss; and (6) a causal connection between

  the material misrepresentation or omission and the loss, commonly called ‘loss

  causation.’” Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1236–37 (11th Cir. 2008)

  (quoting Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 341–42 (2005)); see also 15 U.S.C.

  § 78j(b); 17 C.F.R. § 240.10b-5.

         Because securities-fraud claims are “like other types of fraud claims,” plaintiffs are

  required to satisfy the heightened pleading standard of Federal Rule of Civil Procedure

  9(b). Mizzaro, 544 F.3d at 1238. This requires the plaintiff “to state with particularity the

  circumstances constituting fraud.” Fed. R. Civ. P. 9(b). Thus, Plaintiffs are required to

  state “(1) precisely what statements were made in what documents or oral

  representations or what omissions were made, and (2) the time and place of each such

  statement and the person responsible for making (or, in the case of omissions, not

  making) same, and (3) the content of such statements and the manner in which they

  misled the plaintiff, and (4) what the defendants obtained as a consequence of the fraud.”

  Mizzaro, 544 F.3d at 1237.




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         B.     Derivative Personal Liability Under Section 20(a) of the Exchange Act

         Section 20(a) of the Exchange Act “imposes derivative liability on persons that

  control primary violators of the [Exchange] Act.” Laperriere v. Vesta Ins. Grp., Inc., 526

  F.3d 715, 721 (11th Cir. 2008). To state a claim, Plaintiffs must allege three elements:

  (1) Dycom committed a primary violation of the securities law; (2) that CEO and CFO had

  the power to control the general business affairs of Dycom; and (3) that they “had the

  requisite power to directly or indirectly control or influence the specific corporate policy

  which resulted in primary liability.” Mizzaro, 544 F.3d at 1237. The Court cannot proceed

  to a Section 20(a) violation if the plaintiff fails first to establish a Section 10(b) violation.

  See id. The Court briefly notes here that, because Plaintiffs have stated a claim for

  securities fraud under Section 10(b) and Rule 10b-5 (as discussed below), dismissal of

  the Section 20(a) claim would be improper.

         C.     The Private Securities Litigation Reform Act of 1995

         Congress passed the Private Securities Litigation Reform Act of 1995 (“PSLRA”)

  “to curb abusive securities litigation [by] permit[ting] the dismissal of frivolous cases at the

  earliest feasible stage of the litigation.” In re Noven Pharm., Inc. Sec. Litig., 238 F. Supp.

  2d 1315, 1319 (S.D. Fla. 2002) (alterations in original). In addition to the heightened

  pleading standard established in Rule 9(b), the PSLRA sets forth the following additional

  requirements for plaintiffs to plead a securities-fraud claim:

         (1) [T]he complaint shall specify each statement alleged to have been
         misleading, the reason or reasons why the statement is misleading, and, if
         an allegation regarding the statement or omission is made on information
         and belief, the complaint shall state with particularity all facts on which that
         belief is formed . . . .




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          (2) [T]he complaint shall with respect to each act or omission alleged to
          violate this chapter, state with particularity facts giving rise to a strong
          inference that the defendant acted with the required state of mind.

   15 U.S.C. § 78u-4(b)(1), (2).

          D.     Standard for Dismissal for Failure to State a Claim

          “‘When evaluating a motion to dismiss under Rule 12(b)(6), the question is whether

   the complaint contain[s] sufficient factual matter, accepted as true, to state a claim to relief

   that is plausible on its face.’” Worthy v. City of Phenix City, 930 F.3d 1206, 1217 (11th

   Cir. 2019) (alteration in original) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)); see

   also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “A claim has facial plausibility

   when the plaintiff pleads factual content that allows the court to draw the reasonable

   inference that the defendant is liable for the misconduct alleged.” Worthy, 930 F.3d at

   1217. The Court is guided by the well-known principle that, on a motion to dismiss for

   failure to state a claim, the Court assumes all well-pleaded allegations in the Complaint

   are true and views them in the light most favorable to the plaintiff. Jackson v. Okaloosa

   Cty., 21 F.3d 1531, 1534 (11th Cir. 1994).

          E.     Considering Extrinsic Documents Provided by Defendants

          The Court “must consider the complaint in its entirety.” Tellabs, Inc. v. Makor

   Issues & Rights, Ltd., 551 U.S. 308, 322–23 (2007). The general rule limits the Court to

   the four corners of the complaint and such sources incorporated by reference. See, e.g.,

   St. George v. Pinellas Cty., 285 F.3d 1334, 1337 (11th Cir. 2002). The Eleventh Circuit,

   however, “has recognized an important qualification to this rule where certain documents

   and their contents are undisputed: ‘In ruling upon a motion to dismiss, the district court

   may consider an extrinsic document if it is (1) central to the plaintiff’s claim, and (2) its




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   authenticity is not challenged.’” Speaker v. U.S. Dep’t of Health & Hum. Servs., 623 F.3d

   1371, 1379 (11th Cir. 2010) (quoting SFM Holdings, Ltd. v. Banc of Am. Sec., LLC, 600

   F.3d 1334, 1337, 1337 (11th Cir. 2010)). In other words, “a document central to the

   complaint that the defense appends to its motion to dismiss is also properly considered,

   provided that its contents are not in dispute.” Harris v. Ivax Corp., 182 F.3d 799, 802 n.2

   (11th Cir. 1999).

   III.   DISCUSSION

          The Court now turns to Defendants’ arguments in moving to dismiss. They focus

   on three elements: that Plaintiffs have not pled sufficient allegations as to (1) material

   misrepresentations or omissions, (2) scienter, and (3) loss causation.              See Mot. to

   Dismiss 9 (DE [74]). Each will be discussed in turn.

          A.     Material Misrepresentation or Omission

          “A particular statement is a ‘misrepresentation’ . . . if in the light of the facts existing

   at the time of the [statement] . . . [a] reasonable investor, in the exercise of due care,

   would have been misled by it.” Carvelli v. Ocwen Fin. Corp., 2018 WL 4941110, at *4

   (S.D. Fla. Apr. 30, 2018), aff’d, 934 F.3d 1307 (11th Cir. 2019) (alterations in original

   (internal quotation omitted). As the basis of their claims, Plaintiffs enumerate myriad

   statements, spanning 100 SAC paragraphs’ worth of alleged misrepresentations by

   Defendants during the Class Period. See SAC ¶¶ 189–286. Defendants categorize the

   statements into four types all excluded by law. Mot. to Dismiss 9–10 (DE [74]). The four

   categories are as follows: those that are forward looking; those that were factually true;

   those that constituted opinion; and those that were mere puffery. Id.; see also Exs. A–D

   to Mot. to Dismiss (DE [74-1], [74-2], [74-3], [74-4]). Because none of these categories




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   of statements is actionable for securities fraud under the law, Defendants argue Plaintiffs

   have failed to state a claim.

                 1.       Non-Actionable Forward-Looking Statements

          First, Defendants argue a safe-harbor provision in the PSLRA excluding from

   liability “forward-looking statements” applies to some of the statements alleged by

   Plaintiffs and immunizes them from liability. “A forward-looking statement is what it

   sounds like—a prediction, projection, or plan.” Carvelli v. Ocwen Fin. Corp., 934 F.3d

   1307, 1324 (11th Cir. 2019).

          Case law offers the following examples: “(1) a statement containing a projection of

   revenues; (2) a statement of the plans and objections of management for future

   operations, including plans or objectives relating to the products or services of the issuer;

   (3) a statement of future economic performance; and (4) any statements of the

   assumptions underlying or relating to the aforementioned statements.” In re Columbia

   Labs., Inc. Sec. Litig., 144 F. Supp. 2d 1362, 1368 (S.D. Fla. 2001). “When determining

   whether a statement is forward-looking, the Court must consider the statements at issue

   in the context of the entire document.” In re Noven, 238 F. Supp. 2d at 1320.

          Of the sixty statements identified by Plaintiffs, Defendants argue twenty-four fall

   into one of these two safe-harbor exceptions. See Ex. A to Mot. to Dismiss (DE [74-1]).

   Examples include:

          •      “Engineering and construction activity is expected to increase throughout

                 the balance of our second quarter and accelerate into calendar 2018.” SAC

                 ¶ 227.




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          •       “We don't have any major programs coming to an end. Generally, they're

                  going to accelerate through the year.” Id. ¶ 233.

   Of course, these are just two of two dozen examples. In total, the Court counts over ten

   statements where Defendants began with the words “we expect” or “we anticipate.” See

   Ex. A to Mot. to Dismiss (DE [74-1]). Based on this, and upon a thorough review of the

   statements, the Court finds they are forward-looking and presumptively covered by the

   safe harbor. The statements discuss Dycom’s “plans, expectations, and optimism.” In re

   Noven, 238 F. Supp. 2d at 1320.

          However, the analysis cannot end there. Under the safe-harbor provision of the

   PSLRA, a forward-looking statement is not actionable only if:

          (A) the forward-looking statement is identified as a forward-looking
          statement, and is accompanied by meaningful cautionary statements
          identifying important factors that could cause actual results to differ
          materially from those in the forward-looking statement; or
           ....
          (B) the plaintiff fails to prove that the forward-looking statement . . . was
          made with actual knowledge . . . that the statement was false or misleading
          ....

   15 U.S.C. § 78u-5(c)(1)(A), (B). For clarity, the Court will refer to the first exception as

   the “cautionary statement exception” and the second exception as the “actual knowledge

   exception.”1    The Court finds Plaintiffs’ allegations of Defendants’ forward-looking

   statements overcome both of these exceptions.

          Under the cautionary statement exception, “meaningful cautionary language must

   be more than mere boilerplate language.” In re Columbia Labs., 144 F. Supp. 2d at 1368–




   1
    The Court recognizes that the statute provides a third exception under this safe-harbor
   provision: that the statements were immaterial. 15 U.S.C. § 78u-5(c)(1)(A)(ii); see also
   Carvelli, 934 F.3d at 1326. Defendants do not raise this as a defense, however.


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   69.   While Plaintiffs contend “Defendants’ statements were not accompanied by

   meaningful cautionary language,” Resp. in Opp’n to Mot. to Dismiss 15 (DE [76])

   (emphasis added), the Court concludes the statements actually came with no cautionary

   language whatsoever, much less meaningful cautionary language. Even under what the

   Court considers a hyper-liberal interpretation of Defendants’ statements, supplements

   like “the permitting process experience ‘normal timing volatility,’” see id., are not

   cautionary language. Neither is a proviso “that customer contracts could be canceled ‘for

   any reason.’” Id.

         The Court finds Plaintiffs have satisfied the standard for the actual knowledge

   exception, as well. The allegations of false and misleading statements that pervade the

   Second Amended Complaint are buttressed by allegations that CEO and CFO knew they

   were false. See, e.g., SAC ¶¶ 23, 24, 136–88, 323. Accepted as true for this motion to

   dismiss, the Court finds these allegations more than sufficient to withstand dismissal.

                2.     Non-Actionable Statements That Are Factually True

         Clearly, if a statement is factually true, it is not actionable under Section 10(b) or

   Rule 10b-5, which both provide a cause of action against a defendant who makes a

   materially false statement. Defendants provide twenty-two statements that they claim are

   factually true and, therefore, non-actionable. See Ex. B to Mot. to Dismiss (DE [74-2]).

   The Court agrees with Defendants that several of these statements would not be

   actionable under Section 10(b) of Rule 10b-5 if they are proven to be factually true. For

   example:

         •      “These services are being provided across the country in dozens of

                metropolitan areas to a number of customers.” SAC ¶ 208.




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            •     “This quarter reflected an increase in demand from three key customers as

                  we deployed 1 gigabit wireline networks.” Id. ¶ 206.

   The Court defers on making the determination at this moment as to whether each of these

   twenty-two sentences is factually true.

                  3.     Non-Actionable Statements of Opinion

            Defendants also argue that nearly a dozen of the statements forming Plaintiffs’

   claims are non-actionable statements of opinion. “A statement of opinion is actionable

   under 10b-5 only if: (1) the opinion expressed was not sincerely held or (2) the statement

   included an embedded statement or statements of untrue facts.” Carvelli, 2018 WL

   4941110, at *6 (internal quotation omitted). Thus, if the statement at issue is objectively

   one of opinion, rather than factual, the burden shifts to the plaintiff to prove either the

   speaker did not sincerely hold that opinion or it was embedded in some sort of untrue

   facts.

            First, a number of those statements identified by Defendants are simply not

   opinions. For example, the Court disagrees that the following are opinions:

            •     “Wireless constructions activity in support of expanded coverage and

                  capacity is poised to accelerate.” SAC ¶¶ 196, 377.

            •     “Our ability to provide integrated planning, engineering and design,

                  procurement, and construction and maintenance services is of particular

                  value to several industry participants.” Id. ¶ 300.

   An opinion is “[a] person’s thought, belief, or inference.” Opinion, Black’s Law Dictionary

   (11th ed. 2019).     These statements convey facts; that is, the speaker affirmatively

   represents the expanded coverage and capacity is poised to accelerate. This does not




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   imply CEO thinks, believes, or infers it; CEO is making a bold assertion that it will occur. 2

   At a minimum, the characterization of such a statement as opinion is not for the Court to

   make at this stage of the case.

                 4.      Non-Actionable Puffery

          Puffery is “generalized, non-verifiable, vaguely optimistic statements.” Mogensen

   v. Body Cent. Corp., 15 F. Supp. 3d 1191, 1211 (M.D. Fla. 2014). Because it is more

   akin to exaggeration and ballyhoo, “[r]easonable investors do not base their investing

   decisions on corporate puffery.” Id. Until very recently, the Eleventh Circuit had not

   accepted puffery as a defense to securities-fraud claims. It finally did so in Carvelli. See

   934 F.3d at 1319–20 (“[T]he defense seems a particularly good fit in the securities

   context.”).

          The statements Defendants have identified as non-actionable puffery include the

   following examples:

          •      “[W]orking aggressively with our customers to help them gear up.”

                 SAC ¶ 196.

          •      “Both backlog calculations reflect strong performance as we booked new

                 work and renewed existing work.” Id. ¶ 242.

          •      “We have established relationships with many leading telecommunications

                 providers.” Id. ¶ 256.




   2
     The Court would be remiss not to note that this statement very well may be a forward-
   looking statement and, thus, non-actionable under that exception. Defendants, however,
   do not identify this statement as such and do not list it in docket entry [74-1]).


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          •      “[W]e are increasingly providing integrated planning, engineering and

                 design, procurement and construction and maintenance services, creating

                 more visibility around future revenue streams.” Id. ¶¶ 266–67.

   Again, as with the other three exceptions, this list is illustrative, not exhaustive.

          Based on the foregoing examples, the Court cannot agree that these statements

   are mere puffery. Rather, these statements in particular represent tangible, verifiable

   actions Dycom assured its investors it was taking such as: establishing relationships with

   leading telecommunications providers and increasingly providing integrated planning,

   engineering and design, procurement and construction and maintenance services. Even

   these statements that can be considered a close call are not like those found to be puffery

   by other courts. For example, in Carvelli, the statements found to be puffery included:

   “We take all compliance examinations and findings seriously, and we are committed to

   correcting any deficiencies remediating any borrower harm and improving our compliance

   management systems and customer service.” 2018 WL 4941110, at *4. The Court finds

   the statements here more concrete affirmations of verifiable actions.

          B.     Scienter

          Scienter is a “mental state embracing intent to deceive, manipulate, or defraud.”

   Ernst & Ernst v. Hochfelder, 425 U.S. 185, 194 n.12 (1976). It runs the continuum from

   intentional to recklessness. Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1284 (11th Cir.

   1999). “[I]n determining whether the pleaded facts give rise to a ‘strong’ inference of

   scienter, the court must take into account plausible opposing inferences.” Tellabs, Inc. v.

   Makor Issues & Rights, Ltd., 551 U.S. 308, 323 (2007). This “cannot be decided in a

   vacuum.” Id. at 324. “To determine whether the plaintiff has alleged facts that give rise




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   to the requisite ‘strong inference’ of scienter, a court must consider plausible, nonculpable

   explanations for the defendant’s conduct, as well as inferences favoring the plaintiff.” Id.

          To support their claims, Plaintiffs point to the information provided by the ten CWs

   and argue their statements provide sufficient basis for a strong inference of scienter. The

   Court agrees. The allegations are replete of assertions that Dycom, at the very least,

   intended to hide and conceal the financial issues it faced during the Class Period.

          Defendants also attack the strength of Plaintiffs’ allegations on the basis that

   several come from the CWs—confidential, unidentified, and anonymous individuals. But

   the fact that these allegations come from confidential sources is not per-se disqualifying.

   See Mizzaro, 544 F.3d at 1240 (recognizing skepticism for confidential statements in

   securities-fraud claims, but rejecting a per-se bar). Simply, “the weight to be afforded to

   allegations based on statements proffered by a confidential source depends on the

   particularity of the allegations made.”     Id.   Indeed, circuit courts have recognized

   information from multiple confidential sources can be meaningful when corroborated by

   one another and “the absence of proper names does not invalidate the drawing of a strong

   inference from informants’ assertions.” Makor Issues & Rights, Ltd. v. Tellabs Inc., 513

   F.3d 702, 712 (7th Cir. 2008), on remand from Tellabs, Inc., 551 U.S. 308 (2007).

          Here, Plaintiffs provide sufficient information in forming the foundation and basis

   of the CWs’ knowledge. In just one of several examples, Plaintiffs explain in great detail

   the basis of knowledge for “CW9” (who Plaintiffs allege is Dycom’s former vice president

   of internal audit from November 2007 to December 2017 and who reported directly to

   CEO). CW9 sat in on monthly phone calls with CEO and the president of Dycom’s

   subsidiaries. SAC ¶¶ 39, 176, 323. These calls focused on a number of topics, including




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   any significant changes that occurred in the past thirty days such as lost customer

   contracts and permitting issues, in addition to a number of other topics such as finances,

   collecting money owed to the subsidiaries, and how certain jobs were progressing. Id. ¶

   177. CW9 states that there were roughly twenty to twenty-five calls a month to cover the

   roughly forty subsidiaries, and that each call lasted about thirty minutes. Id. Critically, this

   is corroborated by Dycom’s SEC filings. Id.

          C.     Loss Causation

          Loss causation is the “causal connection between the material misrepresentation

   and the loss [incurred].” Dura Pharm., 544 U.S. at 342. Plaintiffs must show that “the

   subject of the fraudulent statement or omission was the cause of the actual loss suffered,

   i.e., that the misstatement[s] or omission[s] concealed something from the market that,

   when disclosed, negatively affected the value of the security.” In re Paincare Holdings

   Sec. Litig., 541 F. Supp. 2d 1283, 1293–94 (M.D. Fla. 2008). A plaintiff “need not rely on

   a single, complete, corrective disclosure; rather, it is possible to show that the truth

   gradually leaked out into the marketplace through a series of partial disclosures.” Meyer

   v. Greene, 710 F.3d 1189, 1197 (11th Cir. 2013).

          Defendants’ argument on this element is simply untenable. They take the position

   that Plaintiffs have not pled a direct connection between the financial guidance from the

   two partial disclosures and the stock price drop. Mot to Dismiss 25 (DE [74]). The Court

   disagrees. Read in a light most favorable to Plaintiffs, the Court finds more than sufficient

   allegations to allow the case to move forward at the Rule 12 (b)(6) stage.




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   IV.     CONCLUSION

           For the foregoing reasons, Plaintiffs have pled sufficient allegations to withstand a

   motion to dismiss for claims under Sections 10(b) and 20(a) of the Exchange Act. The

   Motion to Dismiss (DE [74]) is DENIED. Defendants are directed to file an answer to the

   Second Amended Complaint within FOURTEEN (14) DAYS from the date of this order.

           DONE AND ORDERED in Chambers, Fort Lauderdale, Florida this 14th day April

   2020.




   Copies to counsel via CM/ECF




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